Case 2:O4-cr-20265-STA Document 58 Filed 06/02/05 Page 1 ot 2 PagelD 64

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CLEH}~'Z LF.S, D,'$T. CT.

UN|TED STATES OF AMER|CA, W.U. O?: Tr~t, MEMFHiS
Plaintiff,
\/S.
CR. NO. 04-20265-B
BR|AN BELL,
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETTING

 

This cause came on for a report date on l\/lay 31 , 2005. At that time, counsel for the
defendant requested a continuance of the June 6, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a rem
date of Thursdav. June 23, 2005. at 2:00 D.m., in Courtroom 1, 11th Floor of the
Federal Building, l\/lemphis, TN.

The period from June 17, 2005 through Ju|y 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need fora eedy tria|.

|T IS SO ORDERED this& e, 2005.

 

 

@\HEL BREEN
N|T .DSTATES D|STR|C JUDGE

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This document entered on the docket sheet in co pliance 552
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Honorable .1. Breen
US DISTRICT COURT

